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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


    DARELTECH, LLC
             Plaintiffs,

    v.                                                      Civil Action No. 4:18-cv-00702-ALM
    SAMSUNG ELECTRONICS AMERICA
    INC. and SAMSUNG ELECTRONICS CO.
    LTD.,

                   Defendants.


                                                  ORDER

           Before the Court is Defendants Samsung Electronics Co., Ltd. and Samsung

    Electronics America, Inc.’s Unopposed Motion for Withdrawal of Counsel as to Melissa R.

    Smith (Dkt. #15). Having considered same, the Court is of the opinion the motion should be

    GRANTED.

.          IT IS THEREFORE ORDERED that Melissa R. Smith with the law firm of Gillam

    & Smith LLP, is withdrawn as counsel of record for Defendants Samsung Electronics Co., Ltd.

    and Samsung Electronics America, Inc. The CLERK is directed to terminate all CM/ECF

    notifications as to Melissa R. Smith for this action.
         SIGNED this 13th day of March, 2019.




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                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
